Case 2:04-cr-20311-.]PI\/| Document 176 Filed 07/15/05 Page 1 of 3 Page|D 262
IN THE UNITED STATES DISTRICT COURT '3131V![_ D_C.

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FoR THE wEsTERN DISTRICT oF TENNESSEED 3 -- ~
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UNITED STATES OF AMERICA )
Plaintiff, §
VS § CR. NO. 04-2031 l-Ml
ISIAH CONWAY §
Defendant. ))
ORDER TO SURRENDER

 

The defendant, Isiah Conway, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI YAZOO CITY,
P. O. Box 5050, Yazoo, MS 39194 by 2:00 p.m. on FRIDAY, AUGUST 5, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Offlce of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Mernphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTERED this the (S day ofJuly, 2005.

...QM‘O.Q§L

J N PHIPPS McCALLA
NITED STATES DISTRICT JUDGE

 

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Wlth Ru|e 55 and/or32{b) FHCrP on 7'/ "O

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

   

UNITED `SATES DISTRICT COUR - WTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 176 in
case 2:04-CR-203ll Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed.

 

 

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Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

